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Civil Judgment (Rev. DC 03/2010)

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES CONFERENCE OF
MAYORS, et al.

Plaintiff(s)

Civil Action No. 16-660
V

GREAT-WEST LIFE & ANNUITY INSURANCE,
CO.

Defendant(s)

JUDGMENT ON THE VERDICT
FOR PLAINTIFF

This cause having been tried by the Court and a Jury, before the Honorable

JUDGE THOMAS F. HOGAN , Judge presiding, and the issues having been duly

tried and the Jury having duly rendered its verdict; now, therefore, pursuant to the verdict,
IT |S ORDERED, ADJUDGED AND DECREED that the plaintiff(s):

UNITED STATES CONFERENCE OF MAYORS, et al.

have and recover of and from the defendant(s):
GREAT-WEST LIFE & ANNUITY INSURANCE, CO.

the sum of 8,000,000.00 (Eight Million Dollars)

together with costs.
ANGELA D. CAESAR, Clerk

Dated: 1/23/2018 By: HAROLD SMITH, JR.
Deputy Clerk

 

 
